                      Case 1:23-mj-00038-MAU Document 5 Filed 03/02/23 Page 1 of 1



AO 442 (Rev. 11111) Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                         for the

                                                               District of Columbia

                    United States of America
                                v.                                         )   Case: 1:23-mj-00038
                                                                           )   Assigned To .:Upadhyaya, Moxila A.
                   JOHN JOSEPH RICHTER
                                                                           )
                                                                           )   Assign. Date: 2/17/2023
                                                                           )   Desoription: Complaint WI Arrest Warrant
                                                                           )
                                Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                     to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                           JOHN JOSEPH RICHTER
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            o    Superseding Indictment          o   Information       o     Superseding Information           N Complaint
o     Probation Violation Petition              o   Supervised Release Violation Petition          o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:
18 U.S.C.   §§ 1512(c)(2), 2 - Obstruction of an Official Proceeding and Aiding and Abetting;
18 U.S.c.   §§ 1752(a)(1) and (b)(l)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
18 U.S.C.   §§ 1752(a)(2) and (b)(I)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous
Weapon;
40 U.S.C.   § 5104(e)(2)(A) - Entering and Remaining on the Floor of Congress;
40 U.S.C.   § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
40 U.S.C.   § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.

Date:          02/17/2023
                                                                                                    Issuing officer's signature


City and state:                      Washington, D.C.                              Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                                      Printed name and title


                                                                         Return

           This warrant was received on (date)           31:;).1a.(f~3 , and the person           was arrested on (date)       2 J a I J0'6   '?2
at (city and state)  f61}
                        Cb){\o~       FLM. c\ '-
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                                                                     .


Date:     'SId I ~ t>?'7
                                                                                                   Arresting officer's signature ~    1=
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